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12
                                   UNITED STATES DISTRICT COURT
13                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
14
                                                  )
15   JAMAL ADAMS, et al.,                         ) Case No. 3:19-cv-03042
16                                                )
                                                  ) PETITION FOR ORDER COMPELLING
17                  Petitioners,                  ) ARBITRATION
                                                  )
18          vs.                                   )
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19
     POSTMATES INC.,                              )
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                                                  )
21                  Respondent.                   )
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                        PETITION FOR ORDER COMPELLING ARBITRATION
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 1          Petitioners file this Petition for Order Compelling Arbitration against Respondent

 2   Postmates Inc. (“Postmates”) as follows:

 3                                   NATURE OF THE PETITION

 4          1.      Petitioners are 5,257 Postmates couriers who are attempting to arbitrate individual

 5   claims against Postmates for misclassifying them as independent contractors instead of employees.

 6   Petitioners contend that in misclassifying them, Postmates has violated the Fair Labor Standards

 7   Act, 29 U.S.C. §§ 206, 207, and related California state and local laws.

 8          2.      Petitioners’ employment agreement with Postmates—the “Fleet Agreement”—

 9   contains a sweeping arbitration provision. That provision explicitly covers any dispute regarding

10   couriers’ classification as independent contractors. It also requires Postmates to pay a portion of

11   the fees and costs necessary to commence arbitration.

12          3.      On April 22, 2019, in accordance with the Fleet Agreement, counsel for Petitioners

13   served 4,925 arbitration demands on Postmates and the American Arbitration Association

14   (“AAA”). Counsel served an additional 349 demands on May 13, 2019.

15          4.      On May 10, 2019, AAA imposed a deadline of May 31, 2019, for Postmates to pay

16   its share of the filing fees necessary to commence arbitration for the first 4,925 Petitioners’

17   demands.

18          5.      Postmates failed to meet that deadline and has shown no willingness to pay the fees

19   it owes with respect to any of Petitioners’ demands.

20          6.      Postmates’s refusal to pay the filing fees it owes violates the Fleet Agreement and

21   has prevented Petitioners from accessing the sole forum in which they may assert their claims.

22          7.      Petitioners have filed this Petition to require Postmates to abide by its own Fleet

23   Agreement.

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 1                                                PARTIES

 2          8.      Petitioners are Postmates couriers who drove in California.          Details for each

 3   Petitioner are listed in Exhibit A.

 4          9.      Respondent is a Delaware corporation headquartered at 201 Third Street, Suite 200,

 5   San Francisco, California 94103.

 6                                     JURISDICTION AND VENUE

 7          10.     This Court has jurisdiction over this action pursuant to 9 U.S.C. § 4 and 28 U.S.C.

 8   §§ 1331 and 1367 because the underlying controversy involves claims arising under federal law.

 9          11.     This Court has personal jurisdiction over Postmates because Postmates has its

10   headquarters and principal place of business in California.

11          12.     Venue is proper in this district (San Francisco Division) pursuant to 9 U.S.C. § 4

12   and 28 U.S.C. § 1391(b) because Postmates is headquartered and conducts business in San

13   Francisco County and many of the acts and omissions complained of occurred in San Francisco

14   County.

15                                   INTRADISTRICT ASSIGNMENT

16          13.     This action is properly assigned to the San Francisco Division of this District,

17   pursuant to Civil Local Rule 3-2(c) and (d), because a substantial part of the events or omissions

18   that give rise to the claim occurred in San Francisco County, which is served by the San Francisco

19   Division.

20                                            BACKGROUND

21          14.     Postmates is an on-demand delivery service through which customers may order

22   food and other items from participating merchants for delivery. Postmates pays couriers to make

23   those deliveries.

24          15.     Petitioners are Postmates couriers whom Postmates has misclassified as independent

25   contractors rather than employees, in violation of federal, state, and local law.

26          16.     Postmates executes an agreement with its couriers—the “Fleet Agreement”—

27   requiring that all parties to the agreement arbitrate any claim arising from the agreement in

28   accordance with AAA’s procedures and rules. See, e.g., Postmates 2019 Fleet Agreenent, available
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 1   at https://fleet.postmates.com/legal/agreement. The agreement further requires that arbitrations be

 2   conducted individually; it does not permit any class or consolidated proceedings.

 3           17.    Postmates has enforced this broad arbitration agreement to preclude couriers from

 4   filing misclassification claims against it in court. See, e.g., Lee v. Postmates Inc., No. 18-cv-3421,

 5   2018 WL 4961802 (N.D. Cal. Oct. 15, 2018) (granting Postmates’s motion to compel a courier’s

 6   misclassification claim to arbitration, given that the courier “validly consented to the Fleet

 7   Agreement and its arbitration provision”).

 8           18.    On March 6, 2019, Petitioners’ counsel contacted Postmates to inform it that

 9   Petitioners planned to file demands for arbitration to recover backpay and related penalties

10   Petitioners are owed for Postmates’s unlawful misclassification.

11           19.    Petitioners’ counsel offered to discuss resolving Petitioners’ claims in an alternative

12   manner, such as through global mediation, but the parties could not agree on an alternative process.

13           20.    Pursuant to Postmates’s Fleet Agreement, on April 22, 2019, Petitioners’ counsel

14   served demands for arbitration for 4,925 Petitioners on Postmates and AAA. Petitioners’ counsel

15   served demands for the remaining 349 Petitioners on May 13, 2019.

16           21.    Claimants in AAA employment arbitrations generally must pay a filing fee of $300

17   to commence arbitration. Because of their income levels, however, the majority of Petitioners

18   qualified for a fee waiver from AAA. The Petitioners who did not qualify for fee waivers paid

19   $300 each, for a total of $99,600.

20           22.    Under the Fleet Agreement and AAA’s employment fee schedule, which AAA has

21   applied to Petitioners’ claims, Postmates is required to pay a filing fee of at least $1,900 for each

22   demand.

23           23.    On May 10, 2019, AAA set May 31, 2019 as the deadline for Postmates to pay its

24   share of the filing fees necessary to commence arbitration.

25           24.    Postmates failed to pay the filing fees by May 31, 2019. It has yet to pay a single

26   filing fee.

27           25.    AAA will not commence arbitration until it receives the fees Postmates owes. See

28   AAA Commercial Arbitration Rules, Rule 4(b), available at https://www.adr.org/sites/default/files
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 1   /CommercialRules_Web_FINAL_1.pdf.

 2           26.     It is undisputed that Petitioners and Postmates entered into an agreement requiring

 3   them to arbitrate the issue of whether Petitioners are independent contractors or employees.

 4           27.     Postmates has failed to comply with that agreement because it has refused to pay

 5   the filing fees it owes under the agreement—fees that are necessary in order for Petitioners to begin

 6   their arbitrations.

 7           28.     Accordingly, this Court should compel Postmates to arbitrate under 9 U.S.C. § 4.

 8                                          PRAYER FOR RELIEF

 9   WHEREFORE, Petitioners respectfully request that this Court:

10           29.     Enter an Order requiring that:

11                   - Postmates shall pay all arbitration filing fees due for Petitioners’ pending

12                         demands for arbitration within 14 days of this Court’s Order; and

13                   - Postmates shall pay future AAA invoices related to Petitioners’ arbitrations

14                         within 14 days of receipt.

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             Dated: June 3, 2019                            Respectfully submitted,
16
                                                            /s/ Keith A. Custis
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 1                                   CERTIFICATE OF SERVICE
 2          I certify that I shall cause the foregoing document to be served on Postmates Inc. at its

 3   headquarters at 201 Third Street, Suite 200, San Francisco, California 94103.

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 5          Dated: June 3, 2019                          /s/ Keith A. Custis

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